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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :
                                        :
             v.                         :    CRIMINAL NO. 3:23-CR-149
                                        :
DAMIEN BOLAND,                          :
ALFRED ATSUS,                           :
JOSEPH ATSUS AND                        :    JUDGE MANNION
NICHOLAS DOMBEK                         :
                                        :
                   Defendants.          :    ELECTRONICALLY FILED

   JOINT REQUEST FOR PRE-TRIAL DISCLOSURE OF NOTICE OF
  INTENT TO USE EVIDENCE PURSUANT TO FED. R. EVID. 609(b)(2)

      Defendants Damien Boland, Alfred Atsus, and Joseph Atsus, by and through

their undersigned counsel, pursuant to Rule 609(b)(2) of the Federal Rules of

Evidence, request from the Government pretrial written disclosure which arguably

will be admissible under the provisions of Rule 609(a)(1) and or (2).

      Pursuant to the instructions of the Court, Defendants have identified this

Request as being of a common interest to them. Defendants have therefore filed this

Request jointly, in an effort to narrow and focus the issues that are pending before

the Court.
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                                        Respectfully submitted,

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                                        /s/ Patrick A. Casey
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                                        Attorney for Defendant, Joseph Atsus
Date: July 12, 2024




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                         CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the foregoing

Request for Pre-Trial Disclosure of Notice of Intent to Use Evidence Pursuant to

Fed. R. Evid. 609(b)(2) was served upon the following counsel of record via the

Court’s ECF system on this 12th day of July 2024:

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                                              /s/ Patrick A. Casey
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